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                                         UNITED STATES BANKRUPTCY COURT
                                          SOUTHERN DISTRICT OF ILLINOIS

In re:                                                   )                Case No. 18-31576
                                                         )                  Original Chapter 13 Plan
DUSTIN T. STEPHENS and                                   )
SHEILA M. STEPHENS,                                      )                  Amended Plan Number 3 .
                                                         )                (Changes must be underlined)
                             Debtor(s)                   )                  Limited Service Applicable

                                CHAPTER 13 PLAN AND NOTICE OF TIME TO OBJECT
CHAPTER 13 PROCEDURES MANUAL The provisions of the Court’s Chapter 13 Procedures Manual are incorporated
herein by reference and made part of this Plan. This manual is available at www.ilsb.uscourts.gov.

YOUR RIGHTS WILL BE AFFECTED You should read this plan carefully and discuss it with your attorney. Anyone
opposing any provision of this Plan as set forth below must file a timely written objection. This Plan may be confirmed
without further notice unless written objection is filed and served within 21 days after the conclusion of the 11 U.S.C. §
341(a) Meeting of Creditors. Objections to an amended Plan must be filed and served within 21 days after the date of filing
of the amended Plan.

THIS PLAN DOES NOT ALLOW CLAIMS A Creditor must file a timely Proof of Claim to receive distribution as set
forth in this Plan. Even if the Plan provides for payment, no payment will be made unless a Proof of Claim is timely filed.
If the debtor is not represented by counsel, any party filing a proof of claim must serve the debtor with notice that the claim
has been filed and with a copy of the claim. Any pleadings that are filed in relation to the claim also must be served on the
debtor.

IF A TIMELY CLAIM IS NOT FILED, AS PERMITTED BY FED. R. BANKR. P. 3002(c), 3004 OR FURTHER
ORDER OF THIS COURT, ALL AMOUNTS RECEIVED BY THE TRUSTEE FOR THE UNFILED CLAIM
WILL BE DISBURSED TO OTHER CREDITORS PURSUANT TO THE ORDER OF DISTRIBUTION.

If you have a secured claim, this Plan may void or modify your lien if you do not object to the Plan.

The following matters may be of particular importance. Debtor(s) must check one box on each line to state whether or
not the plan includes any or all of the following items. If an item is checked as “Not Included” or if both boxes are
checked, the provision will be void if set out later in the plan.


I.       A limit on the amount of a secured claim, set out in Sections 3E, 3F, or 4B, which      Included        Not Included
         may result in a partial payment or no payment at all to the secured creditor

II.      Avoidance of a judicial lien or nonpossessory, non-purchase money security              Included        Not Included
         interest, set out in Section 9

III.     Nonstandard provisions set out in Section 10.                                           Included        Not Included


1.     PAYMENTS
The Debtor submits to the Standing Chapter 13 Trustee all projected disposable income to be received within the applicable
commitment period of the Plan. The payment schedule is as follows:

           Start Month #                   End Month #                 Monthly Payment                        Total
 1                                 7                              $2,179.00                      $15,253.00
 8                                 12                             $1,697.00                      $ 8.485.00
 13                                59                             $1,738.43                      $81,706.21
 60                                60                             $1,809.00                      $ 1,809.00
                                                                      Grand Total Payments: $107,253.21

Wage Order Required:            Yes      No        ePay       TFS (Must list employer information)
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The Debtor from whose check the payment is deducted: DUSTIN T. STEPHENS
Employer’s name, address, city, state, phone: Rush Truck Centers, ATTN: Payroll, 555 IH 35 South, Ste. 500, New
Braunfels, TX 78130
___________________________________________________________________________________________________


                                        IMPORTANT PAYMENT INFORMATION

     NOTE: Plan payments to the Trustee must commence within 30 days of the filing of the petition. The Debtor must
     make direct payments to the Trustee by money order or cashier’s check until the employer deduction begins. Include
     your name and case number on your money order or cashier’s check. Contact the Trustee for the payment mailing
     address. In addition, debtors may need to pay their tax refunds, personal injury proceeds and other such funds to the
     trustee.

ORDER OF DISTRIBUTION
The following order of priority shall be utilized with respect to all payments received under the Plan terms:
     1.     The Trustee's fees for each receipt, the percentage of which is fixed by the U.S. Trustee;
     2.     Any unpaid portion of the filing fee;
     3.     Notice fees equal to $.50 per page of the Plan, multiplied by the number of creditors listed on the debtor’s
          mailing matrix;
     4.     Ongoing mortgage payments on real estate;
     5.     Allowed administrative expenses;
     6.     Attorney’s fees and other secured creditors as set forth in the Chapter 13 Procedures Manual;
     7.     Priority creditors as set forth in the Plan;
     8.     Any special class of unsecured creditors as set forth in the Plan; and
     9.     General unsecured creditors.
2.     ADMINISTRATIVE EXPENSES

                                Administrative Creditor                                      Estimated Amount of Claim




ATTORNEY’S FEES
       Attorney name: KARL J. WULFF, KATZ & WULFF, 904 VANDALIA AVENUE, COLLINSVILLE, IL 62234
          Flat fee through Plan $4,000.00 OR
          The Debtor’s counsel elects to be paid on an hourly basis and will file a fee application(s) for approval of fees. No
       fees shall be disbursed until a fee application is approved by the Court. However, the Trustee shall reserve a total of
       $4,500.00 for payment toward such application, pursuant to the Order of Distribution and the Chapter 13 Procedures
       Manual.
3.     REAL ESTATE – CURING DEFAULTS AND MAINTAINING PAYMENTS
       Post-petition payments shall be made by the Trustee if (i) a pre-petition default exists; (ii) a post-petition, pre-
       confirmation default occurs; or (iii) a post-confirmation default arises that cannot be cured by the Debtor within six
       months. Otherwise, post-petition payments may be made directly by the Debtor to the creditor. Where the Trustee is
       disbursing the ongoing payments, the first mortgage payment to be disbursed will be that which becomes due in the
       second month after the month in which the petition is filed. For example, if the petition was filed in January, the first
       mortgage payment is due in March. In this situation, a mortgage holder should file a “pre-petition” claim that includes
       both the pre-petition arrearage and all post-petition contractual payments not disbursed by the Trustee as set forth
       above. Similarly, a Debtor must include the amount of any such payment(s) in the pre-petition arrearage calculation.
       (See the Chapter 13 Procedures Manual for examples and further instruction.)

       For ongoing payments brought in due to a post-petition default, payments by the Trustee are to begin on the first due
       date after the month in which the amended or modified Plan is filed, or as otherwise ordered by the Court. All
       payments received from the Trustee must be credited by the creditor as the Plan directs. Pursuant to 11 U.S.C. §
       524(i), ongoing post-petition mortgage payments tendered under the Plan by either the Trustee or the Debtor shall be
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         credited by the holder and/or servicer of said claim only to such payments and may not be used for any other purpose
         without prior approval of the Court. Pursuant to 11 U.S.C. § 524(i), payments for pre-petition mortgage arrearages
         tendered under the Plan by the Trustee shall be credited by the holder and/or servicer of said claim only to such
         arrearages and may not be used for any other purpose without prior Court approval

         The Chapter 13 Procedures Manual sets forth the terms concerning notice of payment changes; notice of fees, expenses
         and charges; form and content of said notice; determination of fees, expenses or charges; notice of final cure payment;
         response to notice of final cure payment; determination of final cure and payment; and the consequences of the failure
         to notify. If a conflict arises between the terms set forth in the Chapter 13 Procedures Manual and any bankruptcy rule,
         the federal and local bankruptcy rule(s) shall supersede the Manual.
     A) Payment of ongoing post-petition mortgage payments by the Debtor is as follows:

                                  Lien              Property Address               Estimated            Payment         Payment
            Creditor
                                  No.                                            Monthly Payment        Start Date      End Date




     B) Payment of ongoing post-petition mortgage payments by the Trustee is as follows:

                                                                                   Estimated
                                                                                                        Payment         Payment
             Creditor             Lien              Property Address             Monthly Payment
                                                                                                        Start Date      End Date
                                  No.
        Wells Fargo Home           1                309 Avalon Drive                 $1,061.13           12/2018        11/2019
            Mortgage                                 Troy, IL 62294
     then                                                                            $1,090.61           12/2019         5/2020
     then                                                                            $1,092.63           6/2020         11/2020
     then                                                                            $1,073.37           12/2020        End of
                                                                                                                          Plan



      The estimated monthly payment amount referenced in Part 3A and 3B above may change based upon Proof(s) of Claim
      filed and/or subsequent Notices of Mortgage Payment Change.


     C) Payment of pre-petition arrearages; first post-petition (“limbo”) payment; and/or post-petition arrearages,
     arising from a default in mortgage payments that were being made directly by the Debtor to the creditor, are as
     follows:

                              Lien                                                   Estimated Claim           Type of Payment (i.e.
        Creditor              No.                 Property Address                                              Limbo, Pre or Post-
                                                                                                                     petition)
Wells Fargo Home Mtg.         1          309 Avalon Dr., Troy, IL 62294         $1,061.13                    “Limbo”
Wells Fargo Home Mtg.         1          309 Avalon Dr., Troy, IL 62294         $14,488.13                   Pre-petition


     D) Real Estate Secured Claims which will be paid in full:

                                  Lien
            Creditor              No.                     Property Address                     Estimated Claim       Interest Rate
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THE FOLLOWING PLAN PROVISION WILL BE EFFECTIVE ONLY IF THERE IS A CHECK IN THE BOX
TITLED “INCLUDED” IN SECTION I ABOVE.

E) Residential Real Estate Secured Claims to which 11 U.S.C. § 506 Valuation is Applicable (“Lien Stripping”):

The Debtor will file a separate adversary proceeding to avoid the following wholly unsecured mortgages. Claims listed in
this subsection are debts secured by real estate on the Debtor’s primary residence. These claims are being modified
pursuant to 11 U.S.C. § 1322(b)(2). The real estate mortgage in question is not protected by the anti-modification provision
of Section 1322(b)(2) either because the value of the real estate minus any priority liens indicates no value to support a
secured claim under 11 U.S.C. § 506(a) or that the loan has matured pursuant to 11 U.S.C. § 1322(c). (The appropriate
section is indicated below.) That pursuant to 11 U.S.C. § 1325(a)(5)(B) the creditor will continue to retain the lien on the
residential real estate until the Debtors receive a discharge pursuant to Section 1328 of the Bankruptcy Code. Upon the
entry of the order of discharge the lien is voided. These claims will be paid either the value of the secured property as stated
below or the secured amount of that claim as listed on the Proof of Claim, whichever is less, with interest as provided
below. Any portion of a claim that exceeds the value of the secured property will be treated as an unsecured claim without
the necessity of an objection.

                                      Value of Real                                                               Code Section
                                                                                                 Estimated
                 Property address      Estate After          Estimated          Interest                          Relied Upon
 Creditor                                                                                        Monthly
                                    Priority Liens are        Claim               Rate                           [1322(b)(2) or
                                                                                                 Payment
                                        Deducted                                                                    1322(c)]




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TITLED “INCLUDED” IN SECTION I ABOVE.
F) Real Estate Secured Claims to which 11 U.S.C. § 506 Valuation is Applicable (“Cram Down Claims”):

Claims listed in this subsection are debts secured by real estate that is not the Debtor’s primary residence. These claims
will be paid either the value of the secured property as stated below or the secured amount of that claim as listed on the
Proof of Claim, whichever is less, with interest as provided below. Any portion of a claim that exceeds the value of the
secured property will be treated as an unsecured claim without the necessity of an objection.

                                                    Value (after                                                Estimated
      Creditor              Property Address        deducting all    Estimated Claim        Interest Rate       Monthly
                                                    senior liens)                                               Payment




G) Real Estate Property Tax Claims shall be paid as follows: To the extent that taxes are due or will become due, they
will be paid directly by the Debtor or pursuant to any applicable note and mortgage on the property.
4. SECURED CLAIMS AND VALUATION OF COLLATERAL UNDER 11 U.S.C. SECTION 506
A) Secured Claims to which 11 U.S.C. § 506 Valuation is NOT Applicable (“910 Claims”):
Claims listed in this subsection are debts secured by a purchase-money security interest in a personal motor vehicle
acquired for the personal use of the debtor, incurred within the 910 days preceding the date of the filing of the bankruptcy
or debts secured by a purchase-money security interest in "any other thing of value” incurred within one year preceding the
date of the filing of the bankruptcy. These claims will be paid in full with interest as provided below.

            Creditor                                                       Estimated          Interest         Estimated
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                                            Collateral                     Claim           Rate         Monthly Payment




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TITLED “INCLUDED” IN SECTION I ABOVE.
B) Secured Claims to which 11 U.S.C. § 506 Valuation is Applicable (“Cram Down Claims”):
Claims listed in this subsection are debts secured by personal property not described in the immediately preceding
paragraph of this Plan. These claims will be paid either the value of the secured property as stated below or the secured
amount of that claim as listed on the Proof of Claim, whichever is less, with interest as provided below. Any portion of a
claim that exceeds the value of the secured property will be treated as an unsecured claim without the necessity of an
objection.
For secured claims of governmental units, unless otherwise ordered by the court, the value of a secured claim listed in a
proof of claim filed in accordance with the Bankruptcy Rules controls over any contrary amount listed below.


                                                                                                            Estimated
      Creditor               Collateral              Value        Estimated Claim       Interest Rate        Monthly
                                                                                                             Payment
One Main                2003 GMC Sierra          $3,500.00        $1,169.25               5.50%          $23.00




C) Surrender of Property:
This section allows for the surrender of collateral. The Debtor surrenders any and all right, title and interest in the
following collateral. If the creditor believes that it may be entitled to a deficiency claim under applicable law, then the
secured creditor must file its secured claim before the non-governmental claims bar date. Within 90 days following the
claims bar date, the secured creditor shall file an amended Proof of Claim indicating the unsecured deficiency
balance (if any), unless an extension is approved by the Court. Any objection to a timely filed deficiency claim shall be
filed within 45 days of the date the deficiency claim was filed, or the same is deemed allowed. Absent leave of Court,
deficiency claims filed outside of this 90-day period (or any extension granted by the Court) are deemed disallowed without
action by any party. Upon entry of the Order lifting the automatic stay, the Debtor must reasonably cooperate with the
creditor in either making the collateral available for pickup or in supplying information of the collateral’s last known
location.
 The debtor(s) elect to surrender to each creditor listed below the collateral that secured the creditor’s claim. The
debtor(s) request that upon confirmation of this plan the stay under 11 U.S.C. § 362(a) be terminated as to the
collateral only and that the stay under § 1301 be terminated in all respects.
                                                                                       Estimated Monies Previously
                  Creditor                        Collateral Surrendered
                                                                                            Paid by the Trustee




5.               SEPARATELY CLASSIFIED CLAIMS
                                    Collateral            Secured/         Estimated       Interest
         Creditor                                                                                             Paid By
                                                         Unsecured          Claim           Rate
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6.    EXECUTORY CONTRACTS AND UNEXPIRED LEASES
All executory contracts and unexpired leases are rejected, except the following which are assumed:
      A) Payment of executory contracts and unexpired leases directly by the Debtor is as follows:
                                                                                                                    # of
                     Creditor                             Collateral                    Monthly Payment           Payments
                                                                                                                  Remaining




      B) Payment of arrearages by the Trustee is as follows:
                                                                                                                  Estimated
          Creditor              Collateral                 Address                   Est. Claim     Int. Rate     Monthly
                                                                                                                  Payment




Since the claims in Part 3E, 3F, 4A, 4B and 6B are based on the allowed claim amount, the estimated monthly payment
in those sections is provided by the Debtor for reference only.


7.    PRIORITY CLAIMS
     A) Domestic Support Obligations:

     The Debtor is required to pay all post-petition domestic support obligations directly to the holder of the claim and not
     through the Chapter 13 Plan.

     1. Name of Debtor owing a domestic support obligation: _______________________________________________
                                                                                                                   Is DSO
            DSO Claimant Name                  Address, City, State and ZIP        Estimated Arrearages           Current?
                                                                                                                  [Y or N]




     B) Domestic Support Obligations Assigned to or Owed to a Governmental Unit Under 11 U.S.C. § 507(a)(1)(B):
                                                                                  Estimated Amount to be        State Agency
             Government Entity                     Estimated Arrearages
                                                                                           Paid                 Case Number




     C)    Secured Income Tax Claims and Priority Claims Under 11 U.S.C. § 507:
     All allowed secured tax obligations shall be paid in full by the Trustee as set forth herein. All allowed priority claims
     shall be paid in full by the Trustee as set forth herein, unless the creditor agrees otherwise:

                                                  Priority OR Secured                 Estimated Claim           Interest Rate
                     Creditor
                                               (Must list the classification)             Amount                  (If Any)
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8.   LONG-TERM DEBTS PAID DIRECTLY BY THE DEBTOR OR CO-DEBTOR TO THE CREDITOR
                                                                                                              Number of
                                                       Is there a Co-        Estimated         Monthly
       Creditor                 Collateral                                                                    Payments
                                                      Debtor? [Y or N]     Claim Amount        Payment
                                                                                                              Remaining




THE FOLLOWING PLAN PROVISION WILL BE EFFECTIVE ONLY IF THERE IS A CHECK IN THE BOX
TITLED “INCLUDED” IN SECTION II ABOVE.
9.   AVOIDANCE OF LIENS

The Debtor will file a separate motion to avoid the following non-purchase money security interests, judicial liens, or other
liens that impair exemptions. Until such time as a motion is filed, the Trustee shall make no disbursements thereon. Upon
entry of an order avoiding the lien, the Trustee shall treat said claims as unsecured and pay them pursuant to paragraph 11.


                                                                                                Amount of Lien to be
                  Creditor                                   Collateral
                                                                                                    Avoided




THE FOLLOWING PLAN PROVISION WILL BE EFFECTIVE ONLY IF THERE IS A CHECK IN THE BOX
TITLED “INCLUDED” IN SECTION III ABOVE.
10. NONSTANDARD PLAN PROVISIONS

Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision
not otherwise included in the Local Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are
void.




11. UNSECURED CLAIMS
The minimum amount the Debtor must pay to all classes of allowed non-priority unsecured claims is _________________
or 100%.

12. POST PETITION CLAIMS
Post-petition claims shall not be paid by the Trustee unless the Debtor amends the Plan to specifically address such claims.
Absent such an amendment, the Trustee shall not disburse any monies on said claims and these debts will not be
discharged.

13. LIEN RETENTION
With respect to each allowed secured claim to be paid in full through the Plan, other than mortgage or long-term debts, the
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holder of such claim shall retain the lien securing its claim until the earlier of (i) the payment of the underlying debt
determined under non-bankruptcy law; or (ii) entry of the discharge order under 11 U.S.C. § 1328.

14. PROOF OF LIEN PERFECTION
Any individual and/or entity filing a secured claim must provide the Chapter 13 Trustee, the Debtor, and Debtor’s counsel
with proof of lien perfection at the time its claim is filed and shall attach such documentation to its Proof of Claim pursuant
to Bankruptcy Rule 3001.

15. VESTING OF PROPERTY OF THE ESTATE
Property of the estate shall revest in the Debtor upon confirmation of the Debtor’s Plan, subject to the rights, if any, of the
Trustee to assert a claim to additional property of the estate acquired by Debtor post-petition pursuant to 11 U.S.C. § 1306.

16. PAYMENT NOTICES
Creditors in Section 3 of this Plan (whose rights are not being modified) and in Section 6 of this Plan (Assumed Executory
Contracts/Unexpired Leases) may continue to mail customary notices or coupons to the Debtor or Trustee notwithstanding
the automatic stay.

17. OBJECTIONS TO CLAIMS
Absent leave of Court, any objection to a timely filed general unsecured claim shall be filed within 45 days following the
expiration of the claims bar date for that claim. Objections to secured and/or amended claims shall be filed within 45 days
from the applicable claims bar date or within forty-five 45 days from the date of filing of the claim, whichever is later.

18. STAY RELIEF
Notwithstanding any provision contained herein to the contrary, distribution to a secured creditor(s) who obtains relief from
the automatic stay will terminate immediately upon entry of an Order lifting or terminating the stay, except to the extent
that an unsecured deficiency claim is subsequently filed and allowed. Absent an Order of the Court, relief from the
automatic stay shall also result in the Trustee ceasing distribution to all junior lien holders.

19. DEBTOR REFUNDS
Upon written request of the Debtor or Debtor(s)’ counsel, the Trustee is authorized to refund to the Debtor, without Court
approval, any erroneous overpayment of regular monthly payments received during the term of the Plan that have not been
previously disbursed.

20. PLAN NOT ALTERED FROM LOCAL FORM
By signing this Plan below, the Debtor and the Debtor’s counsel certify that the Plan is the local form authorized by the
Court and contains no non-standard provisions other than those in Paragraph 10.

21. REASON(S) FOR AMENDMENT(S)
Set forth a brief, concise statement of the reason(s) for the amendment(s). In addition, if there is a substantial change to
the proposed Plan payments, or if the Trustee so requests, file an amended Schedule I & J.

Amended plan filed in response to Trustee’s objection correcting funding paragraph.




Signatures
 /S/ KARL J. WULFF                                                      Date: June 17, 2021
Signature of Attorney for Debtor(s)
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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

IN RE:                                        ) In Proceedings Under Chapter 13
                                              )
DUSTIN T. STEPHENS and                        )
SHEILA M. STEPHENS,                           )
                                              ) No. 18-31576
    Debtors.                                  )


                                    CERTIFICATE OF SERVICE

         The undersigned, Karl J. Wulff, attorney for Debtors, hereby certifies that a copy of the

Amended Chapter 13 Plan Number 3 in this matter was mailed to the required parties not being

electronically served as follows:


Dustin & Sheila Stephens
309 Avalon Dr.
Troy, IL 62294


on this 18th day of June 2021, with the correct postage prepaid and deposited in the U.S. Mail in
Collinsville, Illinois.


                                                     /s/ Karl J. Wulff
                                                     _________________________
                                                     KARL J. WULFF, #06244158
                                                     KATZ & WULFF, P.C.
                                                     Attorney for Debtor
                                                     430 Regency Centre
                                                     Collinsville, IL 62234
                                                     (618) 345-6966
                                                     (618) 345-0705 FAX
                                                     kjwulff@katzandwulff.com
